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Exhibit 22
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Subject: Re: your voicemail

From: Norah Piehl <norah@bostonbookfest.org>

To: Dawn Dorland <dawndorland@gmail.com>

Cc: Raquel Hitt <raquel@bostonbookfest.org>

Date Sent: Wednesday, June 20, 2018 10:50:43 AM GMT-04:00
Date Received: Wednesday, June 20, 2018 10:50:43 AM GMT-04:00

Dear Dawn,

Thank you so much for your email. I wanted to give you a brief update. I spoke with the entire
1C1S selection committee about your concerns and shared with them your proposed written
acknowledgment. They were unanimous in their response that the BBF has fulfilled our
obligations both legally and ethically and that the original wording of the credit line is sufficient
for our purposes. Since, as you know, many of them are editors of journals and other
publications, they have a history of dealing with with similar issues, and I plan, with their
support, to defer to their strongly stated opinions on this matter. I know this is unlikely to satisfy
you fully (if at all), but at this point, I will need to request that you cease further communication
with our office or with any member of our staff or advisory committee about this issue, since
both our staff and the committee feel that we have already spent sufficient time corresponding
about the matter and that there is nothing further to discuss. We wish you all the best in your
future projects.

All best,
Norah

On Tue, Jun 19, 2018 at 4:57 PM, Dawn Dorland <dawndorland@qmail.com> wrote:
Dear Norah,

Iam happy to provide some input for the kidney cause. I recommend linking to the following
organizations:

National Kidney Registry

One Legacy

Donate Life/Done Vida

UNOS

Matching Donors (profiles of people in need of kidneys)

That said, all kidney donation is local--run through city- and university-based world-class
transplant centers--and all of my contacts are at UCLA. Presumably Sonya has done her
research (?) and will know of local organizations, surgeons, social workers and/or donor-
advocates who can provide guidance for how one would get started donating or receiving a
kidney in Boston. (I also know a charismatic surgeon-advocate, Dr. Jeffrey Veale, who would be
an absolute treat to feature at an event if you were to extend the invitation; you can find his
appearances on YouTube.)

As for my designing a complementary public health education session for the BBF, I would be
delighted. Short of your organization's officially inviting me to organize and take part in sucha
session, however (plus traveling and lodging my family, a spouse & infant, for the festival), I
fear that it would put me in an adversarial position relative to Sonya's story.

As I said before, I have serious qualms about "The Kindest" and its interaction with,a pyplic
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_ health reality. (Not to mention its literary deficit of making no attempt at verisimilitude--and by
that I mean Sonya's engineering a blunt situation between donor and recipient that would

_ never occur in real life. Certainly issues of feeling undeserving of and over/underwhelmed by
gratitude for a donor's gesture exist to some extent in every living kidney donation, even
between friends and family members. Fiction is uniquely equipped to deal with such
complexity and subtlety, of course, but Sonya made a different choice.) Given your oft-stated
organizational goal of sharing literature with a wide, public readership, I assume that BBF has
seriously considered how a kidney donation story--particularly one that gently mocks the
motivations of an altruistic donor--will impact its city-wide audience, locally and beyond.

As both a creative writer and a public health advocate, please understand that it is tough for
me to rag on a work of fiction for its medical shortcomings, which is why I have saved this
opinion until now. But these are not merely art games. Real suffering, real lives, are at
stake. Short of my being invited formally to help shape an accurate public health context for
the fiction, however, I believe that this responsibility rests solely with you the BBF staff, its
Program Committee, and the author Sonya Larson, as those responsible for elevating and
disseminating a story that intersects with a serious public health reality.

Allow me to register my opinion, for what it's worth, that I do not stand by the 1C1S story
selection "The Kindest" as helpful on our national path toward solving the organ shortage. In
fact, I fear that the story might even discourage potential donors.

Sincerely,

Dawn Dorland, MTS, MFA
Los Angeles

I check email once daily at noon.

On Jun 19, 2018, at 9:00 AM, Norah Pieh] <norah@bostonbookfest.org> wrote:

Dear Dawn,

Thank you for drafting this--I will circulate to the committee with some context and will
get their feedback about how to proceed.

And your point is well taken about providing factual information about the process of
nondirected kidney donation. Among other information, our 1C1S web page offers links
for interested readers and discussion leaders who want to pursue additional information
about issues related to the story. Are there particular sources of online information you
would suggest we link to? Your suggestion about gathering a group to present on the
topic at the book festival is an interesting one--I'm obviously not well informed enough to
curate such a session myself, but if you'd like to propose one, I'd encourage you to look
into our BBF Unbound program. We're currently (through the end of the month)
accepting proposals for this competitive program, and I can see how this topic might be
an interesting complement to the discussion of 1C1S's fictional approach to the topic.

Best,
Norah

On Tue, Jun 19, 2018 at 11:22 AM, Dawn Dorland <dawndorland@qmail.com> wrote:
_ Dear Norah,

_ Thank you for your email and your invitation to draft an acknowledgment. What about
_ something like this?
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This story appears in an altered form from its first publication in American Short
Fiction. A section of the story was substantially revised because it bore a clear
resemblance to the unpublished work and service of the writer Dawn Dorland, a living
kidney donor. The Boston Book Festival, 1C15S, and the author Sonya Larson express
their sincere regrets.

While I have you--and because the story will enjoy such a wide platform--please allow
me to also express concern for the many ways that the story violates the verisimilitude
of nondirected (altruistic) living kidney donation. I predict that a lot of confusion will
arise in reading groups, and perhaps in BBF's public fora, about how nondirected
donors are matched with recipients (living donors do not have unscheduled surgeries
at hospitals after car crashes, for example). Because the stakes are not merely
fictional, I recommend providing accurate information about living kidney donation in
the 1C1S booklet and/or empaneling a group of surgeons and donor-recipient pairs for
an event at the book festival itself.

Kindly,
Dawn

I check email once daily at noon.

On Jun 18, 2018, at 7:03 PM, Norah Piehl <norah@bostonbookfest.org> wrote:

Dear Dawn,

Thank you so much for explaining your concerns so clearly--I feel like I have a
better understanding now, and I'm sorry for jumping to conclusions about the
basis of your concerns (though I believe you can see, based on the original
background you provided to Raquel, how I arrived at that interpretation). The
story is currently in second page proof, so we don't have a lot of time, but if you
could please propose some text for a brief, as you say, gracious acknowledgment
that you would find satisfactory, I would be happy to take it to the committee for
discussion and decision. It's also possible that we could include a more
substantial acknowledgment on our website, if not in the printed booklet, if the
committee feels that that is the appropriate route to take.

I would also like to point out that the 1C1S program is provided to the residents
of Greater Boston by our nonprofit organization absolutely free of charge, and is
a fundamental piece of our annual programming. We do take your concerns
seriously, and not confined solely to legal liability, and I have spoken at length
with both our executive director and with Sonya about our reservations and
concerns, but at the end of the day, we had to make an organizational decision
about whether to proceed with the story--with the shortcomings you have
pointed out--or to abandon the project altogether for the year. Given the
project's strict timeline, we didn't have the luxury of a third option, and that's
why we're trying to do the best we can.

All best,
Norah

On Mon, Jun 18, 2018 at 9:27 PM, Dawn Dorland <dawndorland@qmail.com>
wrote:
_ Dear Norah,

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Iam happy to explain my ethical concerns, as well as what I would consider
suitable outcomes, as the writer whose text informed your 2018 1C1S
selection's literary merit. That is why I gave you a call.

To be clear, my ethical concerns have entirely to do with plagiarism and
copyright infringement, not with your 1C1S writer's inspiration and
motivations. (The information that I provided in my plagiarism claim about my
own living kidney donation and my friendship with Sonya Larson was to
demonstrate an important legal principle: how Sonya had access to the text of
my private donor-recipient letter.)

The ethical considerations I wanted to discuss with you and the BBF
have to do with Sonya's story having been selected while containing
plagiarized material. You have informed me that Sonya has revised the
section of the story based substantially on my own writing, which BBF has
subjected to careful legal vetting. And you have also said that there will be an
acknowledgment, but one that falls short of indicating why the alterations
were made to the story. This troubles me.

I was under the impression that, as a leading literary organization, the
organizers of the Boston Book Festival--including and especially the writers on
its 1C1S Program Committee--would assume the task, no matter how difficult,
of modeling ethical behavior among members of the writing community. I
wouldn't have been at all surprised if BBF had found it repugnant to grant a
writer who committed plagiarism such a wonderful platform. At the very least,
with the legal issue neutralized, I would have expected the organization to
acknowledge the remedies it took in order to proceed with the story. Such an
acknowledgement could even--graciously--include naming me, my service, and
my work.

As a long-time former resident of Boston and member of the wider literary
community, I find the BBF's erasure of me and my writing from this process
quite disturbing.

Sincerely,

Dawn Dorland, MTS, MPA
Los Angeles

On Jun 18, 2018, at 12:12 PM, Norah Piehl <norah@bostonbookfest.org>
wrote:

Dear Dawn,

Thank you for your voicemail--I'm sorry I missed your call, but I was on
another line.

I'm not really sure how you hope that we'll address any ethical
considerations of moving forward with the story. As in previous years of
this program, Sonya's story was selected for the One City One Story
project purely on the basis of its literary merit and its potential for
connecting with Boston-area readers through reading and discussion. In
both those areas, it was far and away the strongest story the committee
considered this year.

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We are not in the position to evaluate any author's motivations or
inspirations--those are beyond our capacity to discern or to judge, and,
frankly, are outside the scope of the 1C1S program's objectives. Since
you're also a writer, I'm sure you understand that writers of fiction find
inspiration from all manner of people and situations that cross their
paths.

We as an organization have already worked to alleviate your concerns
from a legal standpoint; at this point, as far as we are concerned, this is
purely a personal matter between you and Sonya. I don't know the
status of your past or present friendship, but perhaps a frank
conversation with Sonya herself would be the most straightforward
approach. As a small nonprofit with an even smaller staff, we
unfortunately can't devote any additional time to this issue, as we need
to move forward not only with the 1C1S project but also with planning
and executing the rapidly approaching book festival.

Best,
Norah

Norah Piehl

Deputy Director

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